                 Case 3:11-cv-00065-JRS Document 1-3 Filed 01/25/11 Page 1 of 1 PageID# 17
 "SJS44 (Rev. 12/07)
                                                                        CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by law, except as provided
 by local rules of court This form, approved by the Judicial Conference or the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet.   (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a)   PLAINTIFFS                                                                                      DEFE1N PANTS

Kyss Burton, by her mother, Sakia Hall as next friend, and Sakia                                           Harol
Hall
    (b) County of Residence of First Listed Plaintiff             Richmond                                County o           idence otEifsirJ.iucdlWcndant               tichmond
                              (EXCEPT IN US. PLAINTIFF CASES)                                                                       JNM>s>l&UHffc                        •JLY)

                                                                                                                     TE:     1 i LAND CONDEMNATION CASfcS , US THE LOCATION OF THE

                                                                                                                          CLERK. U.S. DISTRICT COURT
    (c) Attorney's (Finn Name, Address, and Telephone Number)                                             Attome'         «r.r~-.iR1CHMOND. VA

Robert S. Smallenberg, Esq., 10035 Sliding Hill Road, Suite 204,                                         Brian K. Telfair, Deputy City Attorney, 900 E. Broad St., Suite
Ashland. VA 23005. (804) 368-7612, Fax (804) 368-7615                                                    300. Richmond, VA 23219. (804) 646-7940; Fax (804)              n
 II. BASIS OF JURISDICTION                         (Place on "X- in One Box Only)             HI. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X" in One Box for Plaintiff
                                                                                                       (For Diversity Coses Only)                                         and One Box for Defendant)
 3 I    US Government               B 3 Federal Question                                                                         PTF       DEF                                           PTF       DEF
          Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State             71 I    Ol       Incorporated or Principal Place        3 4      9(4
                                                                                                                                                     of Business In This Slate

 O2     U.S. Government              O 4    Diversity                                             Citizen of Another Stale          D!      d    2   Incorporated and Principal Place       0   5    Oi
           Defendant                                                                                                                                    of Business In Another Slate
                                              (Indicate Citizenship of Panics in Item III)

                                                                                                  Citizen or Subject of a           3!      3    3   Foreign Nation                         3   6    3 6
                                                                                                     Foreign Country




 V. ORIGIN                 (Place an "X" in One Box Only)                                                                                                                                 Appeal to District
 G |    Original        39 2 Removed from                O    3   Remanded from              O 4 Reinstated or      O                                a 6 Multidistrict           O 7 ir8?*™"
        Proceeding           State Court                          Appellate Court                Reopened

                                                   ^Cpi&t^"10 Under Wh'Ch y0U arC fil'ne (D° not cile iurbdictlonal statutes unless diversity):
 VI. CAUSE OF ACTION
                                        Brief description of cause:
                                           Excessive force, assault, talse imprisonment, malicious prosecution, intentional infliction ot emotional
                                                                                                                                                                                                           S.
 VII. REQUESTED IN                      □ CHECK IF THIS IS A CLASS ACTION                            DEMANDS                                     CHECK YES only if demanded in complaint:
        COMPLAINT:                           UNDER F R.C.P. 23                                                                                   JURY DEMAND:                    S> Yes     3 No

 VIII. RELATED CASE(S)
                                            (See instructions):
          IF ANY                                                   JUDGE                                                                   DOCKET NUMBER

 DATE


                                      •^-/^
                                                                                 URE OF ATTORNEY OF RECORD



 FOR OFFICE USE ONLY


   RECEIPT*                    AMOUNT                                     APPLYING IFP                                      JUDGE                            MAG. JUDGE
